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 IN THE UNITED STATES DISTRICT COURT
 FOR THE DISTRICT OF NEW JERSEY
  DANIEL D’AMBLY, AARON WOLKIND, STEVE
  HARTLEY, RICHARD SCHWETZ, JOBEL BARBOSA,                       CIVIL ACTION
  MATTHEW REIDINGER, JOHN HUGO, SEAN-                            NO.: 2:20-cv-
  MICHAEL DAVID SCOTT, THOMAS LOUDEN,                            12880-
  ZACHARY REHL, AMANDA REHL, K.R., a minor, by                   JMV-JSA
  and through her father ZACHARY REHL, and her mother
  AMANDA REHL, MARK ANTHONY TUCCI,
                                                                 Hon. John M.
            Plaintiffs,                                          Vazquez, U.S.D.J.
     vs.
                                                                 DECLARATION
  CHRISTIAN EXOO a/k/a ANTIFASH                                  OF CHRISTIAN
  GORDON, ST. LAWRENCE UNIVERSITY,                               EXOO
  TRIBUNE PUBLISHING COMPANY, NEW
  YORK DAILY NEWS, VIJAYA GADDE;
  TWITTER, INC., COHEN, WEISS AND
  SIMON, LLP,

             Defendants.



 I, Christian Exoo declare as follows:

       1.     I am over the age of 18 and make this declaration of my own personal

    knowledge, and, if called as a witness, I could and would testify competently to

    the facts stated herein.

       2.     This Declaration is made in support of my motion to dismiss

    concerning the jurisdictional issues raised in the motion.
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       3.    I live, work and conduct online research from the State of New York.

    My online research concerns individuals and groups located throughout the

    United States.

       4.    I do not conduct business in the State of New Jersey.

       5.    I do not own property in the state of New Jersey.

       6.    I do not pay taxes in the State of New Jersey.

       7.    I do not maintain any bank accounts in the State of New Jersey.

       8.    I do not visit the State of New Jersey with any regularity.

       9.    Other than the claims of Plaintiff D’Ambly, none of the Plaintiffs’

    claims in this case concern any activities relating to the State of New Jersey.

       10.    Other than Plaintiff D’Ambly, none of the Plaintiffs claim to live or

    work in New Jersey.

       11.   Other than Plaintiff D’Ambly, none of the Plaintiffs claim that I

    posted any information about them relating to the State of New Jersey.



 I declare under penalty of perjury under the laws of the United States of America

 that the forgoing is true and correct. Executed this16
                                                     __ day of April 2021, in

 Canton New York.
 ______,



             By:     ___________________
                     Christian Exoo
